           Case 1:13-vv-00333-UNJ Document 19 Filed 01/10/14 Page 1 of 2




       In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       No. 13-333V
                                 Filed: January 10, 2014
                                   Not To Be Published

****************************
DANIELLA CASTILLO and           *
DANIEL RUIZ, on behalf of D.R., *
                                *
                                *
                 Petitioners,   *                     Autism; Petitioners’ Motion for a
                                *                    Decision Dismissing their Petition;
           v.                   *                    Insufficient Proof of Causation; Vaccine
                                *                    Act Entitlement; Denial Without Hearing
SECRETARY OF HEALTH AND         *
HUMAN SERVICES                  *
                                *
                 Respondent.    *
                                *
****************************

                                           DECISION1

       On May 16, 2013, petitioners filed a Petition for Vaccine Compensation in the
National Vaccine Injury Compensation Program (“the Program”),2 alleging that D.R. was
injured by a vaccine or vaccines listed on the Vaccine Injury Table. See § 14. The
information in the record does not show entitlement to an award under the Program.




       1
          Because this unpublished decision contains a reasoned explanation for the action in
this case, the undersigned intends to post this decision on the United States Court of Federal
Claims' website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205,
116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). In accordance
with Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B). Further, consistent with
the rule requirement, a motion for redaction must include a proposed redacted decision. If,
upon review, the undersigned agrees that the identified material fits within the requirements of
that provision, such material will be deleted from public access.
       2
         The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986,
Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-10 et seq.
(hereinafter “Vaccine Act” or “the Act”). Hereafter, individual section references will be to 42
U.S.C. § 300aa of the Act.
         Case 1:13-vv-00333-UNJ Document 19 Filed 01/10/14 Page 2 of 2



        On January 8, 2014, the petitioners moved for a decision on the merits of the
petition, acknowledging that insufficient evidence exists to demonstrate entitlement to
compensation.

        To receive compensation under the Program, petitioners must prove either
1) that D.R. suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury
Table – corresponding to one of D.R.’s vaccinations, or 2) that D.R. suffered an injury
that was actually caused by a vaccine. See §§ 13(a)(1)(A) and 11(c)(1). Examination
of the record does not reveal any evidence that D.R. suffered a “Table Injury.” Further,
the record does not contain a medical expert’s opinion or any other persuasive evidence
indicating that D.R.’s alleged injury was vaccine-caused.

       Under the Vaccine Act, a petitioner may not be awarded compensation based on
the petitioner’s claims alone. Rather, the petition must be supported by either the
medical records or by a medical opinion. § 13 (a)(1). In this case, the record does not
contain medical records or a medical opinion sufficient to demonstrate that the vaccinee
was injured by a vaccine. For these reasons, in accordance with § 12(d)(3)(A),
petitioners’ claim for compensation is denied and this case is dismissed for
insufficient proof. The Clerk shall enter judgment accordingly.

IT IS SO ORDERED.


                                                s/Denise K. Vowell
                                                Denise K. Vowell
                                                Chief Special Master




                                            2
